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October 10, 2018

 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

B.L., A MINOR, BY AND THROUGH

HER FATHER, LAWRENCE LEVY, : CIVIL NO. 3:17-CV-1734-ARC
AND HER MOTHER, BETTY LOU
LEVY,
PLAINTIFFS
Vv

MAHANOY AREA SCHOOL DISTRICT,

DEFENDANT

DEPOSITION OF: APRIL GNALL

TAKEN BY: PLAINTIFFS

BEFORE: MARIA N. O'DONNELL, RPR

NOTARY PUBLIC

DATE: OCTOBER 10, 2018, 11:00 A.M.

PLACE: MAHANOY AREA SCHOOL DISTRICT
EXHIBIT ONE GOLDEN BEAR DRIVE

D-21 MAHANOY CITY, PENNSYLVANIA

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October 10, 2018 6 to 9
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1 with? 1 A Pretty much for the sunmer.

2 A No, 2 Q Okay.

3 0 Is there anything that she said that you felt was 3 A And we have the parade. The Memorial Day Parade was

4 incomplete? 4 right after tryouts. So the girls have to go to the parade as

5 A No. 5 well. That is part of our requirement.

6 Q Okay. What is your title? 6 Q Are students told whether they made varsity the same

7 A Currently now just third grade teacher. 7 day as tryouts?

8 Q Okay. And last year, you were cheerleading advisor 8 A Yes.

9 of some sort, is that correct? 9 Q Okay. I want to talk a little bit about Snapchat.
10 A Yes, 10 So I am not a Snapchat user, I confess, But my understanding
il Q What was your title? li is that unlike other social media platforms where there is a
12 A Co-advisor with Nicole. 12 web site that you can go to, Snapchat is just an app. And the
13 Q Okay. And at that time, were you paid extra for 13 essential feature of Snapchat is that the posts are self
14 your work as cheerleading co-advisor? 14 deleting, Is that consistent with what you understand about
15 A Yes, 15 Snapchat?

16 Q Okay. How long -- how many years have you spent as j 16 A To be honest with you, I don't know enough about
17a cheerleading coach of some kind? 17 Snapchat --
18 A This time around, three years. And approximately 18 Q Okay.
19 back in '93, '94, I want to say three or four years. 13 A ~~ to be perfectly honest.
20 Q Okay. 20 Q Okay. So B. testified that this -- the particular
21 A It was a long time ago. 21 Snap at issue in this case had been posted to her story, which
22 Q And how long have you been an educator? 22 meant that the people she was friends with on Snapchat could
23 A Since 1990. 23 look at it within 24 hours after she posted it, and after that
24 Q Okay. Ms. Luchetta-Rump said that she thought that | 24 it disappeared. So my question is, do you know how it came to
25. you were -~ would he more knowledgeable than she would about 25 be preserved longer than that 24-hour period?

Page 7 Page 9

1 how you learned about the existence of the Snap. So I want to | 1 A I am assuming that you can screen shot from

2 ask you some questions about that. 2  Snapchat. I am --

3 Let's look at P-5, which is the district's responses | 3 Q But you don't know how the screen shot or photo was

4 to interrogatories. If you could look at the answer -- if you | 4 were taken, anything like that?

5 could look at the answer to number one. 5 A I know DF who was a varsity member shared the

6 MR, BROWN: It's a couple pages in, 6 information with S.

7 BY MS. TACK-HOOPER: 7 0 Okay. Do you know who brought it to school? I mean

8 Q Yes. Did you have a chance to read the response to 8 B. didn't take a photo and bring it to school. So safe to

9 one? 9 assume one of the other cheerleaders brought the photo or
10 A Yes. Yes. 10 screen shot to school to show you?

ll Q Is that accurate? lil A I am in the elementary. I am in my own world over
12 A Yes, 12 there. What happens over here, Nicole, because she's in high
13 0 Okay. B. says that she created the Snap on 13. school, generally hears more than I do with being in third

14 Saturday, May 27, 2017 at the Cocoa Hut. Do you have any 14 grade.

15 reason to doubt any of those details? 15 Q Okay.

16 A No. 16 A I don't know how it came to school. I just know how
1 Q Okay. Was the cheerleading season over at that 17 1 received the information.

18 point? 18 Q And that was -- how did you receive the information?
19 A T don't really think our season ever is over because j 19 A I received a phone call from $, stating that D. told
20 we literally go from tryouts. We roll into practices for the | 20 her that the Snap was on Snapchat, it was inappropriate. And
21 summer. We go into football season. We go into basketball 21 after the phone hung up, they were sent to me,

22 season which goes into wrestling season. We get that slight 22 Q Okay. So what was your understanding at that time
23. little break before we start holding practices for tryouts 23 of who had seen the Snapchat?

24 again. So personally I feel like our season is on going. 24 A I sort of felt like everyone obviously that was in
25 Q Okay. So practices start right after tryouts? 25 the friends list. And as you can see, my daughter was not on

 

 

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